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U.S. Department of Justice

Andrew EF, Lelling
United States Attorney
District of Massachusetts

 

 

Main Reception: (617) 748-3100 John Joseph Moakley United States Courthouse
i Courthouse Way
Suite 9200
Boston, Massachusetts 02210

June 16, 2020

Darren T. Griffis

Glickman Sugarman Kneeland & Gribouski
11 Harvard Street P.O. Box 2917
Worcester, MA 01613-2917

Re: United States y, Alvin Molica
Criminal No, 19-cr-10459-RW/7,

Dear Attorney Griffis:

The United States Attorney for the District of Massachusetts (“the U.S. Attorney’) and your
client, Alvin Mojica (“Defendant”), agree as follows, pursuant to Federal Rule of Criminal
Procedure 11(c)(1)(B):

Ll. Change of Plea

Defendant will plead guilty to count three of the Indictment: distribution and possession
with the intent to distribute cocaine, in violation of 21 U.S.C, §841(a)(1). Defendant admits that
he committed the crime specified in that count and is in fact guilty,

2: Penalties

Defendant faces the following maximum penalties: incarceration for 20 years; supervised
release for at least three years up to life; a fine of $1 000,000; a mandatory special assessment of
$100; restitution; and forfeiture to the extent charged in the Indictment.

Defendant understands that, if he is not a United States citizen, pleading guilty may affect
Defendant’s immigration status. Defendant agrees to plead guilty regardless of any potential
imamigration consequences, even if Defendant’s plea results in being automatically removed from
the United States.

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3: Sentencing Guidelines

The parties agree, based on the following calculations, that Defendant's total “offense
level” under the Guidelines is 10:

a) Defendant’s base offense level is 12 because the offense involved less than 50
grams of cocaine (see USSG § 2D1.1(c)(14));

b) Detendant’s offense level is decreased by two levels, because Defendant has
accepted responsibility for Defendant’s crime (USSG § 3E1.1(a)).

Defendant understands that the Court is not required to follow this calculation, and that
Defendant may not withdraw his guilty plea if Defendant disagrees with how the Court calculates
the Guidelines or with the sentence the Court imposes.

Defendant also understands that the government will object to any reduction in his sentence
based on acceptance of responsibility if: (a) at sentencing, Defendant (himself or through counsel)
indicates that he does not fully accept responsibility for having engaged in the conduct underlying
each of the elements of the crime to which he is pleading guilty; or (b) by the time of sentencing,
Defendant has committed a new federal or state offense, or has in any way obstructed justice,

If, afler signing this Agreement, Defendant’s criminal history score or Criminal History
Category is reduced, the U.S. Attorney reserves the right to seek an upward departure under the
Guidelines.

Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

4, Sentence Recommendation
The U.S. Attorney agrees to recommend the following sentence to the Court:

a) incarceration within the Guidelines sentencing range as agreed by the parties,
excluding departures;

b) a fine within the Guidelines sentencing range as agreed by the parties, excluding
departures, unless the Court finds that Defendant is not able, and is not likely
to become able, to pay a fine;

c) 36 months of supervised release:

d) amandatory special assessment of $100, which Defendant must pay to the Clerk
of the Court by the date of sentencing;

c) restitution as determined by the Court at sentencing, or at a hearing for that
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purpose; and
f) forfeiture as set forth in Paragraph 6.
5, Waiver of Appellate Rights and Challenges to Conviction or Sentence

Defendant has the right to challenge his conviction and sentence on “direct appeal,” This
means that Defendant has the right to ask a higher court (the “appeals court”) to look at what
happened in this case and, if the appeals court finds that the trial court or the parties made certain
mistakes, overturn Defendant’s conviction or sentence. Also, in some instances, Defendant has
the right to file a separate civil lawsuit claiming that serious mistakes were made in this case and
that his conviction or sentence should be overturned.

Defendant understands that he has these rights, but now agrees to give them up.
Specifically, Defendant agrees that:

a) He will not challenge his conviction on direct appeal or in any other proceeding,
including in a separate civil lawsuit; and

b) He will not challenge his sentence, including any court orders related to
forfeiture, restitution, fines or supervised release, on direct appeal or in any
other proceeding, including in a separate civil lawsuit,

Defendant understands that, by agreeing to the above, he is agreeing that his conviction
and sentence will be final when the Court issues a written judgment after the sentencing hearing
in this case. That is, after the Court issues a written judgment, Defendant will lose the right to
appeal or otherwise challenge his conviction and sentence, regardless of whether he later changes
his mind or finds new information that would have led hirn not to agree to give up these rights in
the first place.

Defendant acknowledges that he is agreeing to give up these rights at least partly in
exchange for concessions the U.S. Attorncy is making in this Agreement.

The parties agree that, despite giving up these rights, Defendant keeps the right to later
claim that his lawyer rendered ineffective assistance of counsel, or that the prosecutor or a member
of law enforcement involved in the case engaged in intentional misconduct serious enough to
entitle Defendant to have his conviction or sentence overturned.

6. Forfeiture

Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local
law enforcement agency and turned over to the United States, during the investigation and
prosecution of this case, and consents to the forfeiture of all such assets.
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7. Civil Liability

This Plea Agreement does not affect any civil liability, including any tax liability,
Defendant has incurred or may later incur due to his criminal conduct and guilty plea to the charges
specified in Paragraph 1 of this Agreement.

g. Breach of Plea Agreement

Defendant understands that if he breaches any provision of this Agreement, Defendant
cannot use thal breach as a reason to withdraw his guilty plea. Defendant’s breach, however, would
give the U.S. Attorney the right to be released from his commitments under this Agreement, and
would allow the U.S. Attorney to pursue any charges that were, or are to be, dismissed under this
Agreement.

If Defendant breaches any provision of this Agreement, the U.S, Attorney would also have
the right to use against Defendant any of Defendant’s statements, and any information or materials
he provided to the government during investigation or prosecution of his case, The U.S. Attorney
would have this right even if the parties had entered any earlier written or oral agreements or
understandings about this issue.

Finally, if Defendant breaches any provision of this Agrcement, he thereby waives any
defenses based on the statute of limitations, constitutional protections against pre-indictment delay,
and the Speedy Trial Act, that Defendant otherwise may have had to any charges based on conduct
occurring before the date of this Agreement,

9. Who is Bound by Plea Agreement
This Agreement is only between Defendant and the U.S. Attorney for the District of

Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.
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10. Modifications to Plea Agreement

This Agreement can be modified or supplemented only in a written memorandum signed
by both parties, or through proceedings in open court.

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If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S, Attorney Mark J. Grady.

Sincerely,

ANDREW E. LELLING
United States Attorney

By: s/f Glenn A. MacKinlay

 

Glenn A. MacKinlay

Chief, Organized Crime and Gang Unit
Timothy Moran

Deputy Chief, Organized Crime and Gang Unit

AB ofp ol,
MLE EL s
Mark L-@tady !
Assistant U.S. Attorney

 
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ACKNOWLEDGMENT OF PLEA AGREEMENT

| have read this letter and discussed it with my attorney. The letter accurately presents my
agreement with the United States Attorney’s Office for the District of Massachusetts. There are no
unwritten agreements between me and the United States Attorney’s Office, and no United States
government official has made any unwritten promises or representations to me in connection with
my guilty plea. I have received no prior offers to resolve this case.

I understand the crime I am pleading guilty to, and the maximum penalties for that crime.
Thave discussed the Sentencing Guidelines with my lawyer and | understand the sentencing ranges
that may apply.

I am satisfied with the legal representation my lawyer has given me and we have had
enough time to meet and discuss my case. We have discussed the charge against me, possible
defenses I might have, the terms of this Agreement and whether [ should go to trial.

Iam entering into this Agreement freely and voluntarily and because I am in fact guilty of
the offense. I believe this Agreement is in my best interest.

Alvin Mojica 7
Defendant

pa: 6/24/20

I certify that Alvin Mojica has read this Agreemerit and dat we have discussed what it
means. I believe Alvin Mojica understands the Agreement and is entering into it freely, voluntarily,
and knowingly. I also certify that the U.S. Attorney has not extended any other offers regarding a

change of plea in this case.

Darren Griffis, Egg.
Attorney for Defendant

Date: ulza [ 20

 
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On May 8, 2019, Mojica and a copnenutine witness (“CW”) exchanged messages in
which it was agreed that Mojica would sell the CW 14 grams of powder cocaine for $600 at an
agreed meeting location in Worcester, Massachusetts.

Prior to the sale, the CW was searched, and was provided a recording device and cash to
purchase the cocaine.

Surveillance at Mojica’s residence observed a gray vehicle registered to his mother leave
the residence, then arrive at the agrced meeting place. The CW entered the vehicle and the video

recording device captured images of both Mojica’s face and distinctive tattoos on Mojica’s arms.
Mojica provided the CW 13.8 grams of cocaine, as confirmed by laboratory analysis, in
exchange for $600.
After the CW was dropped off, the CW was surveilled to a pre-arranged meeting location

where the CW turned over the cocaine and the recording device to agents.
